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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF VIRGINIA
                          RICHMOND DIVISION

CARMEN TRIANA,                                 Case No. 3:21-cv-202-MHL
                                               NOTICE OF SETTLEMENT
             Plaintiff,

vs.

CAPITAL ONE BANK (USA), N.A.,

             Defendant.



      NOTICE IS HEREBY GIVEN that Plaintiff Carmen Triana (“Plaintiff”) and

Defendant Capital One Bank (USA), N.A., have settled all claims between them in

this matter. The parties are in the process of completing the final settlement

documents and expect to file a Stipulation for Dismissal with Prejudice within the

next forty-five (45) days. Plaintiff requests that the Court vacate all pending

deadlines and hearings in this matter. Plaintiff also requests that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement.

                                               RESPECTFULLY SUBMITTED,

DATED: May 20, 2021                            By: /s/Susan Mary Rotkis
                                               Susan Mary Rotkis VSB 40693
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                                               Attorneys for Plaintiff Carmen Triana

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                         CERTIFICATE OF SERVICE
      I hereby certify that on May 20, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF System which will then send a notification
of such filing (NEF) to the following:

      John D. Sadler, Esq. (VA Bar No. 80026)
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/s/ Diego Sanchez




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